
*500OPINION.
Littleton :
Under tbe facts before tbe board tbe determination of the Commissioner must be approved. Section 326 (a) (3) of the Bevenue Act of 1918 provides—
Sec. 326 (a). That as used in this title the term “invested capital” for any year means (except as provided in subdivisions (b) and (e) of this section) : * ***** #
(3) Paid-in or earned surplus and undivided profits; not including surplus and undivided profits earned during the year;
We can not see from tbe evidence bow the $120,000 carried in tbe surplus account from 1909 to 1918 or how tbe claimed actual accrued interest, including $120,000 of $161,214.98, as of December 31, 1918, can properly be included in invested capital as earned surplus when tbe taxpayer has consistently treated interest as earned in the year in which collected and has reported the same as income on a cash receipts instead of an accrual basis. A taxpayer can not keep its books and report interest for the taxable year on a cash receipts basis for the purpose of computing its income tax and, at the same time, insist upon its invested capital being determined by including therein as earned surplus interest on the accrual basis for the purpose of computing the profits tax. If it were permitted to do this, neither its books nor its return would truly reflect its income; but this is what this taxpayer has done.
Under its method of keeping its books and reporting its income, taxpayer did not regard the interest as income or as earned until the year in which it was collected. Furthermore, while the rate of interest to be paid by the customer on the purchase price may have been fixed and capable of computation, it was not due and payable, and the taxpayer could not demand or enforce payment of any portion of the interest until the principal was paid. There is no evidence before us as to what portion of the $161,214.98 was due and payable on December 31, 1918. Had the taxpayer in years prior to 1919 set up on its books the actual accrued interest and reported the same as income, there would be merit in its contention that the amount should be included in invested capital as earned surplus. Had this been done the actual accrued interest would have been reflected in the profit and loss and surplus accounts. Since the taxpayer admittedly did not enter upon its books the actual accrued interest but entered thereon interest as earned in the year in which paid, and as there is no evidence before us as to what portion of the amount claimed was actually earned as of December 31, 1918, the disallowance thereof by the Commissioner as a part of the taxpayer’s invested capital must be approved.
The mere fact that a taxpayer has not reported earnings which should have been reported would not of itself prevent the inclusion thereof in invested capital as earned surplus. But where the taxpayer’s books have never reflected the accrued interest, the same being treated as earned in the year in which received, and reported as income for the year in which collected, there is no basis for the inclusion thereof in invested capital as earned surplus in computing the profits tax.
